Case:18-10543-TBM Doc#:4 Filed:01/26/18              Entered:01/26/18 11:00:17 Page1 of 2



                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                          )
                                                )
RAYMOND S. GIBLER                               )       Case No. 18-10543-KHT
Tax ID / EIN: xxx-xx-2659                       )
                                                )       Chapter 11
                                                )
                                                )
         Debtor.


             UNITED STATES TRUSTEE’S ENTRY OF APPEARANCE AND
                           REQUEST FOR NOTICES


         The United States Trustee (“UST”), by and through undersigned counsel, files this entry
of appearance and request for notices. Pursuant to Fed. R. Bankr. P. 9034(k), the UST requests
that all pleadings and notices filed in this case be served on the UST at the address set forth
below.


Dated: January 26, 2018                         Respectfully submitted,

                                                Patrick S. Layng
                                                UNITED STATES TRUSTEE

                                                /s/ Paul V. Moss
                                                By: Paul V. Moss #26903
                                                Trial Attorney for the U.S. Trustee
                                                1961 Stout Street, Suite 12-200
                                                Denver, CO 80294
                                                (303) 312-7995
                                                (303) 312-7259 fax
                                                  Paul.Moss@usdoj.gov
Case:18-10543-TBM Doc#:4 Filed:01/26/18           Entered:01/26/18 11:00:17 Page2 of 2



                                  CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the UNITED STATES
TRUSTEE’S ENTRY OF APPEARANCE AND REQUEST FOR NOTICES was served by
deposit in the United States Mail, postage prepaid, to the following parties:

Dated: January 26, 2018

Raymond S. Gibler
7065 Zephry Circle
Arvada, CO 80003

Jeffrey S. Brinen
1660 Lincoln Street, Suite 1850
Denver, CO 80264




                                             /s/ Lauren Collins-Barron
                                             Office of the United States Trustee
